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                  IN THE UNITED STATES DISTRICT COURT                                        r
                 FOR THE SOUTHERN DISTRICT OF GEORGI A
                           WAYCROSS DIVISION                                   snFE   ,-Q        b
                                                                           n   t A
                                                                                 AP "A**
UNITED STATES OF AMERICA


      V.                                               CASE NO. : C R506-5


CHARLES JAMES COOPER
NATHAN GLOVE R
K1EEMA DAVIS
LASHONA COOPER
WILEY J . STRICKLAND
ANTHONY WILLIAMS
CHARICE BOYD

           MAGISTRATE JUDGE' S REPORT AND RECOMMENDATION

       Defendant Wiley Strickland ("Strickland") is charged with conspiracy t o

possess with intent to distribute, and to distribute 50 grams or more of cocaine base

(crack), in violation of 21 U .S .C . § 846, and possession with intent to distribute

cocaine base (crack), in violation of 21 U .S .C . § 841(a)(1) . Strickland filed a Motion

to Suppress . The undersigned conducted an evidentiary hearing on August 10,

2006, at which Stephen Tinsley ("Tinsley"), a Special Agent with the Drug

Enforcement Agency, testified . Strickland filed a post-hearing brief, and the

Government responded .

                                 FINDINGS OF FAC T

       The credible testimony at the evidentiary hearing established the following:

       The Ware County Drug Unit received information from a confidential informant

that James Cooper ("Cooper"), a co-defendant in this case , was buying or selling
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crack cocaine ; the Ware County officers needed assistance and money to further

their investigation . A member of this unit contacted Tinsley's office for that purpose .

Tinsley testified that a confidential informant began making controlled purchases

with Government funds . Tinsley stated that he and other officers involved in this

investigation negotiated a transaction for the purchase of two (2) ounces of crack

cocaine . "Numerous" phone calls were placed to Cooper, who "indicated that he

only had one ounce of that cocaine at that particular time", but he was to "meet with

another one of his sources to receive an additional ounce" to complete the request

for two (2) ounces . (Doc. No . 108, p. 9 .) Cooper and the confidential informant

arranged to meet at a Kroger parking lot while Tinsley and other officers conducted

surveillance . Tinsley testified that he was in contact with the confidential informant

via a "listening device", and the confidential informant said that Cooper just told him

that he had one (1) ounce and was meeting with someone else to get the other

ounce . (Doc. No. 108, p . 10 .) Thereafter, Cooper and his wife (another co-

defendant) pulled into the Kroger parking lot driving a Buick ; someone driving a

white Chevrolet Camaro pulled into the parking lot directly behind the Coopers .

Tinsley stated that Cooper got out of the Buick on the passenger's side and met with

the driver of the Camaro, who turned out to be Strickland . Tinsley testified that

Cooper then approached the confidential informant's vehicle . Tinsley also testified

that Cooper tried to make the sale to the informant, but he saw officers coming

across the parking lot . Cooper went back to his car and sat down . Tinsley stated

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that Strickland was standing between the Coopers' Buick and his own Camaro, and,

as officers approached Strickland, he threw down a "small bag of marijuana" and

began running . (Doc. No . 108, p . 11 .) After Strickland was arrested, another officer

transported Strickland to the Ware County Jail . The other officer searched the

backseat of his patrol car after Strickland was inside the jail to ensure "nothing was

left in the backseat area for . . . evidentiary protection ." (Doc . No. 108, p . 15 .) The

other officer found a vial containing approximately fifteen (15) pieces of crack

cocaine.

       Strickland contends that officers lacked probable cause to arrest him, and, as

a result, the drugs officers seized should be suppressed . Strickland also contends

that any drugs found after he was arrested should be suppressed under the "fruit of

the poisonous tree" doctrine .

                DISCUSSION AND CITATION TO AUTHORITY

       Strickland asserts that, because the Government stated at the hearing before

the undersigned that whether the area where he was arrested was a high crime area

and that he ran upon seeing the officers are irrelevant, the Government has

"narrowed the focus exclusively to Agent Tinsley's observation" of Strickland

throwing the marijuana . (Doc. No. 110, p. 2 .) Strickland contends that the Court

should not consider any of Tinsley's testimony concerning the alleged flight from the

scene or any events leading up to this alleged flight, including his meeting with

Cooper in the Kroger parking lot . Strickland avers that it is unreasonable that a n

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officer could conclude from twenty (20) feet away that "a bag measuring an inch to

an inch- and-a-half long by three centimeters wide contained a green, leafy

substance ." (Doc . No. 110, p . 4 .) Strickland alleges that the officers' primary focus

was on Cooper, not him . Strickland asserts that the Court should note that Tinsley's

observations were made at night even though he testified that the parking lot was

well-lighted .

       The Government contends that Tinsley observed what he believed to be a

crime and proceeded to stop Strickland . The Government asserts that it is purely

academic whether Tinsley had reasonable suspicion or probable cause because the

facts of this case support the lawfulness of Tinsley's actions under either analysis .

       There are three types of police- citizen encounters "which invoke the [F]ourth

[A]mendment : police-citizen communications involving no coercion or detention ; brief

seizures or investigative detentions ; and full-scale arrests ."         United States v .

Hastamorir , 881 F .2d 1551, 1556 (11th Cir . 1989). Investigative detentions involve

"reasonably brief encounters in which a reasonable person would have believed that

he or she was notfree to leave ." Id . (citing Terry v. Ohio , 392 U .S . 1, 88 S . Ct. 1868,

20 L . Ed . 2d 889 (1968)) . "In order to justify a [F]ourth [A]mendment seizure, the

government must show a reasonable and articulable suspicion that the person has

committed or is about to commit a crime ." Id .

        Tinsley's testimony at the evidentiary hearing, which was not contradicted,

reveals that he had a "reasonable and articulable suspicion" that Strickland ha d

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committed a crime . See id. Tinsley's confidential informant had arranged a buy with

Cooper for two (2) ounces of crack cocaine . Cooper informed the confidential

informant that he had a portion of the requested amount but was going to meet with

someone to obtain the remaining portion . At the time of the arranged meeting

between Cooper and the confidential informant in the Kroger parking lot, Strickland

followed Cooper into the parking lot . Cooper and Strickland had contact with each

other before Cooper approached the confidential informant's vehicle . Strickland

threw to the ground a bag of what Tinsley, who has been in law enforcement for

nearly nineteen years and who testified that he was no more than ten (10) feet away

from Strickland at the time (Doc . No. 108, pp . 11-12), believed to be marijuana after

Strickland noticed the presence of law enforcement officers . Tinsley's actions were

supported by th e

reasonable suspicion standard ' of Terry.

        In addition, Tinsley testified that, after Strickland was arrested, a Waycross

Police Department officer transported Strickland to the Ware County Jail in the

backseat of his patrol car . Tinsley also testified that the officer searched the area

of his patrol car where Strickland was sitting after he took Strickland inside of the jail .


1 Even if the Government had to satisfy the higher "probable cause" standard, it appears that Tinsley's
testimony would satisfy this burden as well . "[A]n arrest [supported by probable cause] must be objectively
reasonable based on the totality of the circumstances ." United States v . Dunn , 345 F .3d 1285, 1290 (11th
Cir . 2003) . The probable cause standard "is met when the facts and circumstances within the officer's
knowledge, of which he, . . has reasonably trustworthy information, would cause a prudent person to believe,
under the circumstances shown, that the suspect has committed, is committing, or is about to commit an
offense ." Id . (internal citation and punctuation omitted) . Probable cause "requires more than suspicion," but
"does not require convincing proof, and need not reach the same standard of conclusiveness and probability
as the facts necessary to support a conviction ." Id .

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Tinsley further testified that this officer routinely searched his patrol car after each

stop to ensure nothing was left in the backseat area for "evidentiary protection ."

(Doc. No. 108, p . 15 .) The officer found a vial containing approximately fifteen (15)

pieces of crack cocaine .

      Tinsley's testimony regarding another officer's routine practice of searching

his patrol car after each stop is sufficient to allow the introduction of testimony during

the trial of this case that a vial of crack cocaine was found in the backseat of this

officer's patrol car . FED . R. EvID . 1101(d)(1) . However, it will be for the jury to

determine whether the vial of crack cocaine was Strickland's and whether this

evidence is sufficient to convict Strickland of the crimes with which he has been

charged . See United States v . Gonzalez, 617 F .2d 1.04, 106 (5th Cir. 1980) (finding

that the routine practice of searching the patrol car before and after an officer's shift

was sufficient evidence to allow a jury to find the defendant guilty of possession of

counterfeit currency when the defendant was the only person in the backseat of the

patrol car during the officer's entire shift) . The crack cocaine

found in the officer's patrol car should not be subject to suppression .




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                                 CONCLUSION

      Based on the foregoing, it is my RECOMMENDATION that Strickland's Motion

to Suppress (Doc . No . 94) be DENIED .

      SO REPORTED and RECOMMENDED , this            9   day of November, 2006 .




                                           MES E. GRAHAM
                                          NITED STATES MAGISTRATE JUDG E




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